                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )       DOCKET NO. 3:16CR42 - FDW
                                                    )
              v.                                    )
                                                    )       ORDER OF DISMISSAL
REGINALD DONOVAN RICHARDSON.                        )
                                                    )

       For Good Cause shown in the United States Motion to Dismiss the Bill of Indictment, the

Court hereby grants the dismissal of the Bill of Indictment in Docket No. 3:16CR42 without

prejudice as to Defendant Reginald Donovan Richardson.

       SO ORDERED.



                                Signed: November 16, 2016




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